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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                     Criminal No. 24-337 (KMM/JFD)

UNITED STATES OF AMERICA,

                   Plaintiff,

      v.

                                               PROTECTIVE ORDER
1. SHAWN GRYGO,
2. SHANTEL MAGADANZ, and
3. HEATHER HEIM,

                   Defendants.


      The United States has moved, pursuant to Rule 16(d)(1) of the Federal

Rules of Criminal Procedure, for an order restricting the dissemination of

certain Rule 16 discovery material. The Court will grant the Motion of the

United States. Ms. Grygo’s objection to Paragraph Five of this Protective Order

is respectfully denied because the absence of a provision requiring persons to

whom Protected Material is disclosed to agree to be bound by this Protective

Order, and for documentation of that disclosure and that agreement to be

generated, would vitiate this Protective Order.

      This Court has ordered the United States to make all disclosures

required by Rule 16 of the Federal Rules of Criminal Procedure. Those

disclosures include materials that contain (1) substance use treatment
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information, including the identities of clients and their substance use

histories, diagnoses, and other sensitive information disclosed by clients in the

course of their enrollment with Evergreen Recovery, Inc.; and (2) personal

identifiers of non-party individuals, including dates of birth, social security

numbers, driver’s license numbers, home addresses, cell phone numbers,

health care plan identification numbers, and other personal information. The

United States has shown good cause why the dissemination of this protected

material should be limited.

      WHEREFORE, it is hereby ORDERED pursuant to Rule 16(d)(1) of the

Federal Rules of Criminal Procedure, that “Protected Material,” as defined

below, shall be held in strict confidentiality and used only in connection with

the defense of the charges in this case, and for no other purpose. The Court

further ORDERS as follows:

      1. “Protected Material” means any material containing substance use

treatment information, including the identities of clients and their substance

use histories, diagnoses, and information disclosed by clients in the course of

their enrollment with Evergreen Recovery, Inc, as well as personal identifiers,

including dates of birth, social security numbers, driver’s license numbers,

bank account numbers, home addresses, telephone numbers, health care plan




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identification numbers, and any other personal information of non-party

individuals/witnesses/patients.

      2. Protected Material must be stored and handled in a manner

commensurate with the confidential and sensitive nature of the Protected

Material.

      3. Protected Material shall be held in strict confidentiality by the

defendants and defense counsel and may be used only for purposes of this

litigation.

      4. Protected Material may not be copied or disseminated, nor may the

information contained in the documents and records be disclosed to anyone

other than a “Qualified Person,” defined as counsel for a defendant, and the

investigators, paralegals, clerical staff, and secretarial staff employed by

defense counsel, and expert witnesses and their staff retained by defense

counsel. Defense counsel shall limit the making of copies to those necessary to

their activities as counsel.

      5. All individuals having access to Protected Material shall be informed

of the terms of this Protective Order prior to disclosure. All such individuals

shall certify, by signing a copy of this Protective Order, that they have read the

terms of this Order and understand that they are bound by these terms.

Defense counsel shall maintain a file of such written certifications.


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      6. Defense counsel may advise the defendants of the contents of the

Protected Material, subject to the condition that the defendants have read this

Order and that they understand and agree that to be bound by its terms.

Defense counsel may provide defendants copies of discovery materials provided

all personal identifiers are first redacted from any documents which are left in

the possession of any of the defendants.

      7. The use of Protected Material covered by this Order for any purpose

other than the instant litigation shall be deemed a violation of this Order

punishable by sanctions.

      8. Any filings with the Court that contain Protected Material shall be

filed under seal and clearly marked with a legend stating: “PROTECTED

MATERIAL ENCLOSED.”

      9. Any documents or other materials containing the Protected Material,

and all copies of them, must be destroyed or returned to the Government

within sixty (60) days of the conclusion of this litigation.



Dated: January 10, 2025                      /s/ John F. Docherty
                                             The Honorable John F. Docherty
                                             United States Magistrate Judge




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